          Case 19-50680          Doc 45   Filed 10/08/19   Entered 10/08/19 11:39:29          Page 1 of 1

                          United States Bankruptcy Court
                                    District of Connecticut
                                                                                         Filed and Entered
                                                                                             On Docket
                                                                                          October 8, 2019


In re:
         Daniel Thomas Guilfoile                                                   Case Number: 19−50680 jam
         Debtor*                                                                   Chapter: 13




                                              NOTICE OF HEARING


PLEASE TAKE NOTICE that a Hearing will be held at 915 Lafayette Blvd., Room 123, Courtroom, Bridgeport,
CT 06604 on November 14, 2019 at 11:00 AM to consider and act upon the following matter(s):


              Motion to Dismiss Case For Failure to Make Plan Payments Filed by Roberta
              Napolitano on behalf of Roberta Napolitano, Trustee. (Re: Doc #42)




OBJECTION(S) DUE: November 7, 2019 before 4:00 p.m. Untimely objections may not be considered.

TO THE FILING PARTY: If the you or your attorney fail to participate in the above scheduled hearing, the court
may enter an order denying the matter(s) identified above.


Dated: October 8, 2019
                                                                                 For the Court


                                                                                 Pietro Cicolini
                                                                                 Clerk of Court

United States Bankruptcy Court                                             Tel. (203) 579−5808
District of Connecticut                                                    VCIS* (866) 222−8029
915 Lafayette Boulevard                                                    * Voice Case Information System
Bridgeport, CT 06604                                                       http://www.ctb.uscourts.gov
                                                                           Form 112 − cp
